                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 CHRISTIAN RODRIGUEZ, and VALENTIN
 ACUNA, individually and on behalf of other
 employees similarly situated,

                           Plaintiffs,                 Case No. 19-cv-00289

                  v.                                   Hon. Mary Rowland

 THE PROFESSIONALS, INC., SOUTH
 EAST PERSONNEL LEASING, INC., and
 JACOB TWIG,

                           Defendants.

           DEFENDANTS', THE PROFESSIONALS, INC. AND JACOB TWIG,
           REPLY TO PLAINTIFFS' RESPONSE TO DEFENDANTS' MOTION
          FOR LEAVE FOR ADDITIONAL COUNSEL TO FILE APPEARANCES

        Defendants, THE PROFESSIONALS, INC. ("The Professionals") and JACOB TWIG

("Mr. Twig" and collectively with the Professionals, "Defendants"), by and through their attorneys,

respectfully reply to Plaintiffs' Response to Defendants' Motion for Leave for Additional Counsel

to File Appearances, and in support thereof state as follows:

I.      INTRODUCTION

        The issue before the Court is whether Mr. Kentra, Ms. Hess and Burke, Warren, MacKay

& Serritella, P.C. ("BWMS") should be given leave of court to file their appearances as additional

counsel for Defendants, the Professionals and Mr. Twig. Plaintiffs have objected to the

appearances, claiming that it is intended to "harass and intimidate Plaintiffs and their counsel." Of

course, Plaintiffs offer no authority to support their opposition to the filing of appearances here

because none exists.

        Underlying counsel intends to zealously represent the Professionals and Mr. Twig within

the requirements of the Rules of Professional Conduct and the rules of this Court. There is no basis


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to allow Plaintiffs to dictate which attorneys will represent their opponents in this case and the

instant motion should be granted without delay.

II.     RELEVANT BACKGROUND

        A.       Representation of the Professionals and Mr. Twig
        1.       On January 15, 2019, Plaintiff's filed their Complaint for alleged unpaid wages

against the Defendants. This matter has progressed unresolved for nearly one and a half years since

the commencement of this litigation.

        2.       BWMS previously appeared on behalf of Defendants during the initial stages of

this litigation – filing their respective appearances on February 13, 2019. [Dkt. Nos. 15, 17].

        3.       Thereafter, Defendants' current counsel of Levin Ginsburg, filed their appearances

on Defendants' behalf to act as lead counsel in this litigation and this Court accordingly granted

Defendants' motion for substitution of counsel. [See Dkt. Nos. 29; 31-35].

        4.       The Plaintiffs in this action previously worked closely with Ms. Ana Hernandez

while she was employed by the Professionals.

        5.       Plaintiffs' co-workers previously sued the Professionals as referenced in the current

Plaintiffs’ opposition brief, in a case captioned Elkin Carmona et. al. v. the Professionals and

Jacob Twig (the "Carmona Lawsuit"). However, Plaintiffs fail to expressly acknowledge that the

Carmona Lawsuit was resolved on an individual plaintiff basis through voluntary settlement, with

Defendants denying all allegations made therein and any liability for the claims stated therein. Ms.

Hernandez was the Professionals' office manager at the time of the Carmona Lawsuit.

        6.       On April 27, 2020 Plaintiffs' counsel served Ms. Hernandez with a subpoena

seeking documents relating to the Professionals that she had no right to possess as a former

employee.



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        7.       On May 11, Ms. Hernandez, through her counsel, informed counsel in this matter

that she was in possession of a flash drive which contained responsive documents available to be

produced that she took from the Professionals prior to leaving the Company.

        8.       Ultimately, on May 19, 2020, the Defendants' investigation of the computer used

by Ms. Hernandez during her employment at the Professionals indicated that there were documents

missing that included Defendants' confidential information, which were responsive to Plaintiff's

subpoena. Defendants subsequently notified and informed Plaintiffs' counsel of this fact, of the

misappropriation claims Defendants have against Ms. Hernandez, and of the lawsuit Defendants'

filed in Cook County against Ms. Hernandez for stealing its confidential records. [See Exhibit A

attached hereto].

        9.       Undersigned counsel has been retained to assist in the defense of Plaintiffs' claims,

and to investigate Ms. Hernandez's misconduct. Defendants have further interest in investigating

the role, if any, of Plaintiffs, Plaintiffs' counsel, and Ms. Hernandez's counsel in Ms. Hernandez's

possession of the Professionals confidential information. Plaintiffs opened this door with their

subpoena to Ms. Hernandez and it should be fully investigated.

        B.       Plaintiffs Have Provided No Support for Their Opposition To
                 Additional Counsels' Appearances, and Have No Basis To Dictate
                 Defendants' Choice Of Counsel
        10.      Plaintiffs' opposition brief and purported request for sanctions [See Dkt. No. 85]

not only fails to provide any legal support for blocking Defendants' choice of counsel, it gives no

basis for requesting sanctions. This is particularly true when the only issue before the Court is

whether Defendants have the right to associate additional counsel.

        11.      Plaintiffs' suggestion that the Professionals lawsuit in Cook County against Ms.

Hernandez was a collateral attack on Plaintiffs' subpoena, or that it was filed for the sole purpose



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of harassing Ms. Hernandez is also baseless. [Defs.' Resp. to Pls.' Mot. to Compel. At ¶1.] The

Professionals sued Ms. Hernandez, in part because of her own admission that she is wrongfully in

possession of the Professionals' confidential documents, which she unlawfully took when her

employment was terminated. Defendants' state court action is also intended to ensure that she

comply with her confidentiality agreement with the Professionals, and to recover damages in

connection with Ms. Hernandez's alleged breaches of fiduciary duty and theft from the

Professionals. [See id. at ¶2].

        12.      In the end, Plaintiffs do not have standing or any supporting authority for their

request that two licensed lawyers of good standing, retained at the behest of Defendants be

prevented from appearing in this case. Plaintiffs cannot, and have not, cited to any authority to

support either their request that this Court deny Defendants' Motion for Leave to File Appearances

of Additional Counsel, or their request for sanctions, asserted in their opposition brief. [See Dkt.

No. Id].

        13.      Granting leave to Kentra, Hess, and Burke Warren's additional appearance will not

cause delay, hardship, or prejudice. As such, Defendants respectfully request that this Court grant

the Defendants' Motion and permit attorneys Kentra and Hess of Burke, Warren, MacKay &

Seritella, P.C to file appearances as additional counsel for Defendants.

        WHEREFORE, Defendants, THE PROFESSIONALS, INC. and JACOB TWIG,

respectfully request that this Court (1) Enter an Order granting Defendants leave for Christopher

E. Kentra and Morgan M. Hess, of Burke, Warren, MacKay & Serritella, P.C., to file appearances

as additional counsels for Defendants; (2) Deny Plaintiffs' request for sanctions; and (3) Award

any additional relief to Defendants as deemed just and appropriate by the Court.




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 Dated this 8th day of July, 2020.

                                          Respectfully submitted,

                                          THE PROFESSIONALS, INC. and JACOB
                                          TWIG, Defendants



                                       By: /s/ Christopher E. Kentra
                                           One of Its Attorneys

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